                 Case 2:19-cv-01775-TSZ Document 20 Filed 10/07/20 Page 1 of 2




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 3                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 4                                    AT SEATTLE

 5
       SUSAN S. CHURCH, derivatively on
       behalf of COCRYSTAL PHARMA,
 6
       INC.,
 7                          Plaintiff,
                                                        C19-80 TSZ
            v.
 8
       ELLIOT MAZA, et al.,
 9                          Defendants,
            and
10
       COCRYSTAL PHARMA, INC.,
11                          Nominal Defendant.
12     MARTIN TUTSCHEK, derivatively on
       behalf of COCRYSTAL PHARMA,
13     INC.,
14                          Plaintiff,
                                                        C19-1775 TSZ
            v.
15
       RAYMOND F. SCHINAZI,
16                          Defendants,
            and                                         MINUTE ORDER
17
       COCRYSTAL PHARMA, INC.,
18                          Nominal Defendant

19
        The following Minute Order is made by direction of the Court, the Honorable
20 Thomas S. Zilly, United States District Judge:
            (1)    Having reviewed the Joint Status Reports filed in each of these cases,
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     docket no. 13 in C19-80 and docket no. 19 in C19-1775, indicating that the parties in
     these matters, as well as in a related derivative lawsuit pending in the District of New
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     MINUTE ORDER - 1
             Case 2:19-cv-01775-TSZ Document 20 Filed 10/07/20 Page 2 of 2




 1 Jersey (the “Nichols Action”), have reached a settlement in principle, and having taken
   judicial notice of the preliminary approval of the settlement by the court presiding over
 2 the Nichols Action, as well as the scheduling of a final approval hearing on December 16,
   2020, in the District of New Jersey, the Court DIRECTS the parties to show cause by
 3 January 15, 2021, why these actions should not be dismissed with prejudice and without
   costs.
 4
          (2)     The Clerk is directed to send a copy of this Minute Order to all counsel of
 5 record.

 6         Dated this 7th day of October, 2020.

 7                                                  William M. McCool
                                                    Clerk
 8
                                                    s/Karen Dews
 9                                                  Deputy Clerk
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     MINUTE ORDER - 2
